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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

                                                 §
In re:                                           §           Chapter 7
                                                 §
LA SARA OPERATING COMPANY, LLC,                  §           Case No. 16-30453 (DRJ)
                                                 §
         Debtor.                                 §
                                                 §

  MINERAL OWNERS’ OBJECTION TO TRUSTEE’S EXPEDITED MOTION FOR
  AUTHORITY TO SELL PROPERTY FREE AND CLEAR OF LIENS AND CLAIMS
                      AND FOR OTHER RELIEF
                      (this matter refers to Dkt 58)

         Daniel Y. Butler, individually; and as Trustee of the Daniel Y. Butler Trust created under

Trust Indenture dated July 10, 1974; as Co-Trustee of the Leonor Yturria Wood Testamentary

Exempt Trust F/B/O Daniel Y. Butler; as Co-Trustee of the Leonor Yturria Wood Testamentary

Non-Exempt Trust F/B/O Daniel Y. Butler; as Co-Trustee of the Leonor Yturria Wood

Testamentary Exempt Trust F/B/O Richard E. Butler II; as Co-Trustee of the Leonor Yturria

Wood Testamentary Non-Exempt Trust F/B/O Richard E. Butler II; and as Trustee of the Daniel

Y. Butler Trust U/W/O Leslie O. Levi; Richard E. Butler II, individually, as Trustee of the

Richard E. Butler II Trust created under Trust Indenture dated July 10, 1974; as Co-Trustee of

the Leonor Yturria Wood Testamentary Exempt Trust F/B/O Daniel Y. Butler; as Co-Trustee of

the Leonor Yturria Wood Testamentary Non-Exempt Trust F/B/O Daniel Y. Butler; as Co-

Trustee of the Leonor Yturria Wood Testamentary Exempt Trust F/B/O Richard E. Butler II; as

Co-Trustee of the Leonor Yturria Wood Testamentary Non-Exempt Trust F/B/O Richard E.

Butler II; as Trustee of the Richard E. Butler II GST Exempt Trust U/W/O Leslie Levi; and as

Trustee of the Richard E. Butler II GST Non-Exempt Trust U/W/O Leslie O. Levi; and Fausto

Yturria, Jr., Martin E. Garcia, Dorothy Elizabeth Hablinski, Mary Eleanor Yturria Wilkerson,



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The Lillie M. Tijerina Family Limited Partnership, VSR Royalties, Ltd., Zarate Family, Ltd.,

Garmon Enterprises III, Ltd., JS Family Investment Partnership, Ltd., John Anthony Garcia

Family Partnership, Ltd., Mary B. Mallet Royalties Partnership, Ltd., MGB Royalty Partnership,

Ltd., The Isabel Garcia Family Limited Partnership, M.A. Garcia Family Limited Partnership,

Schulz Family Royalties Partnership, Ltd., William J. Thomas, Mike Neal, Maria Lee

Semelsberger, Betka Mineral Partners, Ltd., and A-3 Minerals, L.P (collectively, “Mineral

Owners”) in the above-captioned case, hereby file this objection to the Trustee’s Expedited

Motion for (a) Authority to Sell Property Free and Clear of Liens and Claims by Auction, (b)

Approval of Bidding Procedures and Designation of Stalking Horse Bidder, (c) Establishment of

Inspection Procedures, and (d) Motion to Extend Deadline to Assume or Reject Executory

Contracts and for Authority to Assume and Assign Executory Contracts in Connection with Sale

(Dkt. 58) (the “Motion”) as follows.

        1.      Prior to the Petition Date, the Mineral Owners executed certain oil and gas leases

under which the Trustee contends that the estate owns an interest. Specifically, the Mineral

Owners were parties to the Oil and Gas Lease dated April 11, 2005, from Fausto Yturria, Jr., et

al., to BLAKEnergy, Ltd., as amended (the “Roadrunner Lease”) and the Oil and Gas Lease

dated December 1, 2001, from Fausto Yturria, Jr., et al. to Swift Energy Company, as amended

(the “Crane-Mallard Lease” and together, the “Leases”). Both of the Leases provide for a partial

termination of the Leases after the primary term if and when there is a cessation of “continuous

drilling operations.”

        2.      While the Court has suggested that any sale of the estate’s interests in the Leases

would be subject to the Mineral Owners’ claim that the Leases have terminated (and the

approved bid procedures so state) in an abundance of caution the Mineral Owners make this



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formal objection to the sale. The Trustee’s Motion seeks to sell the estate’s alleged 34.5%

interest in the Leases to the winning bidder, free and clear of all liens, claims and encumbrances.

The proposed order previously submitted by the Trustee provides that:

           The sale of the Assets pursuant to this Order will vest the Buyer with valid and
           indefeasible title to the Assets, and will be a legal, valid, and effective transfer of the
           Assets, free and clear of all liens, claims, interests, and encumbrances including but
           not limited to those items set forth in this Order.

Proposed Order ¶ 25.

           3.       Based on the information currently available, the Mineral Owners believe that the

Leases have terminated by their terms except as to "production units" (as defined in the Leases)

around producing wells because of the cessation of continuous drilling operations.1 Thus, the

Trustee does not own an interest in the Leases except as to the production units allocable to wells

that were producing as of the date of cessation of continuous drilling operations and that have

continued to produce since that date. The Trustee cannot sell an interest in property that she does

not own. See Rutherford Hosp., Inc. v. RNH Partnership, 168 F.3d 693, 699 (4th Cir. 1999); In

re Murchison, 54 B.R. 721, 725 (Bankr. N.D.Tex. 1985); In re Signal Hill-Liberia Ave. Ltd., 189

B.R. 648, 651-52 (Bankr. E.D. Va. 1995). Accordingly, unless the order approving the Motion

specifically preserves the Mineral Owners’ claim that the Leases have partially terminated, the

Mineral Owners object to the Motion to the extent that it seeks approval to sell the estate’s

interest in the Leases free and clear of the Mineral Owners’ claim that the Leases have

terminated.

           4.       The Mineral Owners also object to the Motion to the extent that it seeks approval

of the sale of certain intellectual property owned by the Mineral Owners and licensed to the



1
    Per the Leases a “production unit” consists of an area surrounding a well no greater than 40 acres for wells less
    than 10,000 feet, and no greater than 80 acres for wells greater than 10,000 feet.


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Debtor. Among the assets the Trustee is purporting to sell to the winning bidder pursuant to an

unsigned version of the Asset Purchase Agreement are the following:

        xi. any books, records, or other documents related to the Properties in the possession, custody,
        and/or control of the Seller including but not limited to:

                1.     the well schematics, well bore logs;

                2.     all records, files, contracts, orders, agreements, permits, licenses (including all
                       2D and 3D seismic licenses and data pertaining to the Properties), easements,
                       maps, data, schedules, reports and logs relating to the Properties;

                3.     all intellectual property, including all copyrights, patents and trademarks, owned,
                       used or licensed by Seller in connection with the Properties and used or held for
                       use exclusively in the ownership and operation of the Properties, including, for
                       the avoidance of doubt all seismic, geological, geochemical or geophysical data
                       owned or licensed by Seller and any of Seller’s interpretations of such data,
                       including all interpretations and analysis obtained by, or on behalf of, Seller
                       and/or any of its predecessors in title; for the avoidance of doubt, this shall
                       include any studies, interpretations or analysis performed by consultants or other
                       personnel which were made available to the seller or any of its predecessors in
                       title.

        5.      The seismic data relating to the Leases is owned by the Mineral Owners and

licensed to the lessees pursuant to a Data License and Option Agreement (“License Agreement”).

The License Agreement provides in relevant part:

        1.1     [Mineral Owners] are the owners of the Seismic Data. Subject to the terms and
        conditions of this agreement, [Mineral Owners] hereby grant to Grantee a non-exclusive
        license to use the Seismic Data provided to Grantee under this agreement.

        6.      Pursuant to section 365(c) of the Bankruptcy Code, non-exclusive rights to use

intellectual property are not assignable by the licensee in bankruptcy unless the licensor

consents. See, e.g., In re Patient Educ. Media, Inc., 210 B.R. 237, 243-244 (Bankr. S.D.N.Y.

1997), and In re Golden Books Family Ent. Inc., 269 B.R. 300, 309 (Bankr. D. Del. 2001).             The

Mineral Owners do not consent to the assignment of the seismic data and to the extent the

Trustee seeks to sell and assign the seismic data owned by the Mineral Owners to the winning

bidder the Mineral Owners hereby object.



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        WHEREFORE, the Mineral Owners respectfully request that the Court deny the relief

requested in the Motion to the extent the Trustee seeks to sell assets free and clear of the Mineral

Owners’ claim that the Leases have terminated, and to the extent the Trustee seeks to sell the

Mineral Owners’ seismic data, and grant such other and further relief as it deems just, both at

law and in equity.

Dated: February 14, 2017         Respectfully submitted,

                                 ANDREWS KURTH KENYON LLP

                                 By: /s/ David A. Zdunkewicz
                                 David A. Zdunkewicz
                                 Texas Bar No. 22253400
                                 Ashley L. Harper
                                 Texas Bar No. 24065272
                                 600 Travis, Suite 4200
                                 Houston, Texas 77002
                                 Telephone: (713) 220-4200
                                 Facsimile: (713) 220-4285
                                 dzdunkewicz@andrewskurth.com
                                 ashleyharper@andrewskurth.com

                                 Counsel for Daniel Y. Butler; Richard E. Butler II; and
                                 Fausto Yturria, Jr.

                                 GRAVES, DOUGHERTY, HEARON & MOODY, P.C.

                                  401 Congress Avenue
                                  Suite 2200
                                  Austin, TX 78701
                                  Telephone: 512.480.5626
                                  Facsimile: 512.536.9926

                                  By: /s/ Brian T. Cumings (by permission)
                                  Christopher H. Trickey
                                  State Bar No. 24014720
                                  ctrickey@gdhm.com
                                  Brian T. Cumings
                                  State Bar No. 24082882
                                  bcumings@gdhm.com




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                                 ATTORNEYS FOR CREDITORS MARTIN E. GARCIA, DOROTHY
                                 ELIZABETH HABLINSKI, MARY ELEANOR YTURRIA
                                 WILKERSON, THE LILLIE M. TIJERINA FAMILY LIMITED
                                 PARTNERSHIP, VSR ROYALTIES, LTD., ZARATE FAMILY,
                                 LTD., GARMON ENTERPRISES III, LTD., JS FAMILY
                                 INVESTMENT PARTNERSHIP, LTD., JOHN ANTHONY GARCIA
                                 FAMILY PARTNERSHIP, LTD., MARY B. MALLET ROYALTIES
                                 PARTNERSHIP, LTD., MGB ROYALTY PARTNERSHIP, LTD.,
                                 THE ISABEL GARCIA FAMILY LIMITED PARTNERSHIP, M.A.
                                 GARCIA FAMILY LIMITED PARTNERSHIP, SCHULZ FAMILY
                                 ROYALTIES PARTNERSHIP, LTD., WILLIAM J. THOMAS, MIKE
                                 NEAL, MARIA LEE SEMELSBERGER, BETKA MINERAL
                                 PARTNERS, LTD., AND A-3 MINERALS, L.P.



                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on February 14, 2017, a true and correct copy of the
foregoing document was served via the Court’s CM/ECF notification system on the parties
registered to receive electronic notices in this case.

                                             By:    /s/ David A. Zdunkewicz
                                                    David A. Zdunkewicz




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